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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                 Case No. 07-cr-88-01,02-SM

Anthony Carder,
Deborah Carder



                                      ORDER



      Defendant Anthony Carder's assented-to motion to continue the trial (document

no. 17) is granted. Trial has been rescheduled for the January 2008 trial period.

Defendants Carder shall file a Waiver of Speedy Trial Rights not later than October 22,

2007 . On the filing of such waivers, the continuance shall be effective.

      The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendant the reasonable time necessary for effective preparation taking into account
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the exercise of due diligence under the circumstances.

      Final Pretrial Conference: December 17, 2007 at 4:30 PM

      Jury Selection:            January 8, 2008 at 9:30 AM

      SO ORDERED.



October 11, 2007                       _________________________
                                       Steven J. McAuliffe
                                       Chief Judge

cc: William Morse, Esq.
    Steven Gordon, Esq.
    William Christie, Esq.
    Michael Sheehan, Esq.
    U. S. Probation
    U. S. Marshal




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